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 1                                                                     The Honorable John H. Chun
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE
10   STATE OF WASHINGTON, et al.,                          NO. 2:25-cv-00602-JHC
11                      Plaintiffs,                        DECLARATION OF
                                                           KELLY PARADIS
12       v.
13   DONALD J. TRUMP, in his official
     capacity as President of the United States of
14   America, et al.,
15                      Defendants.
16

17            I, KELLY PARADIS, declare as follows:

18            1.    I am over the age of 18, competent to testify as to the matters herein, and make

19   this declaration based on my personal knowledge.

20            2.    I am a Deputy Solicitor General in the Solicitor General’s Office of the

21   Washington State Attorney General’s Office. I am one of the attorneys representing the State of

22   Washington in this matter.

23            3.    Exhibit A is a true and correct excerpt of the transcript from the April 17, 2025

24   preliminary injunction hearing in League of United Latin American Citizens v. Executive Office

25   of the President, No. 1:25-cv-00946 (D.D.C. 2025).

26


       DECLARATION OF KELLY PARADIS                    1              ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
       NO. 2:25-cv-00602-JHC                                                800 5th Avenue, Suite 2000
                                                                             Seattle, WA 98104-3188
                                                                                  (206) 464-7744
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 1            4.     Exhibit B consists of true and correct excerpts of the Conference Report on the
 2   National Voter Registration Act of 1993, H.R. Rep. No. 103-66 (1993) (Conf. Rep.), and the
 3   Senate’s agreement to the Conference Report, 139 Cong. Rec. S5746-03 (Daily Ed. May 11,
 4   1993).
 5            5.     Exhibit C is a true and correct excerpt from the Congressional Globe, Cong.
 6   Globe, 42d Cong., 2d Sess. 141 (1871) (remarks of Rep. Butler).
 7            6.     Exhibit D is a true and correct copy of Memorandum of Decision Concerning
 8   State Requests to Include Additional Proof-of-Citizenship Instructions on the National Mail
 9   Voter Registration Form dated January 17, 2014.
10

11            I declare under penalty of perjury under the laws of the State of Washington and the
12   United States of America that the foregoing is true and correct.
13            DATED this 28th day of May 2025 at Seattle, Washington.
14

15                                                  s/Kelly Paradis
                                                   KELLY PARADIS, WSBA #47175
16                                                 Deputy Solicitor General
                                                   1125 Washington Street SE
17                                                 PO Box 40100
                                                   Olympia, WA 98504-0100
18                                                 360-753-6200
                                                   Kelly.Paradis@atg.wa.gov
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       DECLARATION OF KELLY PARADIS                     2               ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
       NO. 2:25-cv-00602-JHC                                                  800 5th Avenue, Suite 2000
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